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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                             )
 J.G.G., et al.,                             )       Civil Action No. 1:25-cv-00766
                                             )
               Plaintiffs-Petitioners,       )
                                             )
 v.                                          )
                                             )
 DONALD J. TRUMP, in his official            )
 capacity as President of the United States, )
 et al.,                                     )
                                             )
               Defendants-Respondents.       )
                                             )

                    RESPONSE AND MOTION TO VACATE HEARING

        Plaintiffs cannot use these proceedings to interfere with the President’s national-security

and foreign-affairs authority, and the Court lacks jurisdiction to do so. In response to Plaintiffs’

filing (Dkt. 21) and this Court’s order setting a hearing for this afternoon, the government submits

the below response. Because it provides the necessary information to confirm the government’s

compliance, and represents the full extent of what counsel is authorized to share with the public or

Plaintiffs, the Court should vacate the hearing and de-escalate the grave incursions on Executive

Branch authority that have already arisen.

        1. As the government has already explained and Plaintiffs do not appear to dispute, the

government complied with the Court’s temporary restraining order issued during the morning of

March 15, and did not remove any of the five individual plaintiffs. The government did so despite

its powerful jurisdictional and other objections to the Court’s unprecedented assertion of judicial

power to review the Proclamation. Cf. Ludecke v. Watkins, 335 U.S. 160, 164 (1948) (explaining

that the “very nature of the President’s power to order the removal of all enemy aliens rejects the

notion that courts may pass judgment upon the exercise of his discretion”).



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       2. Much of Plaintiffs’ submission rests on the oral directives that the Court provided during

the hearing held during the evening of March 15. But as Plaintiffs implicitly recognize, the Court’s

written injunction, which issued at approximately 7:25 PM EDT, properly did not seek to interfere

with the President’s Article II powers to conduct military operations overseas by directing the

return of aliens associated with a designated foreign terrorist organization who had already been

removed from United States territory—even though the written order did memorialize other,

narrower oral directives from the hearing.

       Contrary to Plaintiffs’ assertion (Dkt. 21, at 2), an oral directive is not enforceable as an

injunction. See Bates v. Johnson, 901 F.2d 1424, 1427 (7th Cir. 1990) (“Oral statements are not

injunctions.”). “A judge who proclaims ‘I enjoin you’ and does not follow up with an injunction

has done nothing,” and, if the judge “does not record an injunction or declaratory judgment on a

separate document, the defendant is under no judicial compulsion.” Id. at 1427-28. That accords

with Federal Rule of Civil Procedure 65, which “contemplates the issuance of a written order.”

Lau v. Meddaugh, 229 F.3d 121, 123 (2d Cir. 2000). Indeed, the Rule provides that “[e]very order

granting an injunction and every restraining order must … state the reasons why it issued,” “state

its terms specifically,” and “describe in reasonable detail … the act or acts restrained or required.”

Fed. R. Civ. P. 65(d)(1). Written orders are crucial because they clarify the bounds of permissible

conduct. See Garcia v. Yonkers Sch. Dist., 561 F.3d 97, 105 (2d Cir. 2009) (Miner, J., joined by

Sotomayor and Katzmann, JJ.) (“Requirements for the form and content of preliminary injunctions

and temporary restraining orders are properly met by a written order.”).

       This district has long followed that principle. See Landmark Legal Found. v. EPA, 272 F.

Supp. 2d 70, 80 (D.D.C. 2003) (“[A]n injunction does not become an injunction until it is reduced

to writing.”). And that principle holds especially true when the Court does issue a written order—




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but phrases it more narrowly. In that event, the written order controls. See Parsons v. Ryan, 912

F.3d 486, 498 (9th Cir. 2018) (“We do not review oral statements from the bench on a matter later

committed to writing; we review instead the written order entered by the district court.”). Indeed,

the narrower written order may well represent a more considered judgment by the court about the

proper exercise of its powers. See Ellison v. Shell Oil Co., 882 F.2d 349, 352 (9th Cir. 1989)

(“Oral responses from the bench may fail to convey the judge’s ultimate evaluation. Subsequent

consideration may cause the district judge to modify his or her views.”).

        In accord with this well-established law, the written minute order governed. It enjoined

the government from “removing” the foreign terrorists “pursuant to the Proclamation.” The

government did not violate that injunction. As Plaintiffs themselves say, the two flights that they

identified departed from the United States before 7:25 PM EDT (and, for that matter, before any

oral directives). Dkt. 21, at 3.1

        3. As to any flights that were already outside U.S. territory and airspace, anyone aboard

had already been “removed” within the meaning of the Alien Enemies Act and the Court’s order,

and therefore were not covered by the order. The plain meaning of “remove” is “[t]he transfer or

moving of a person or thing from one location, position, or residence to another.” Removal,

Black’s Law Dictionary, at 1409 (9th ed. 2009). And that meaning aligns with the context of the

Alien Enemies Act, which is concerned with protecting the territorial integrity of the United States

from foreign incursions—not what happens to the alien enemies after they are removed from the

United States. See 50 U.S.C. § 21. Cf. Nicusor-Remus v. Sessions, 902 F.3d 895, 899 (9th Cir.

2018) (holding, in distinct INA context, that alien is removed once he has “left the United States”).



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  Plaintiffs also identify a third flight that departed later. Dkt. 21, at 4. That flight carried detainees who
were removable on grounds other than the Proclamation and is therefore irrelevant. The government is able
to disclose that limited fact for the same reason.


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       Accordingly, Plaintiffs’ assertions about U.S. “custody” after 7:25 PM EDT (Dkt. 21, at 2)

are not relevant. And Plaintiffs’ questions about what occurred beyond U.S. territory or airspace—

which implicate sensitive questions of national security, foreign relations, and coordination with

foreign nations—are neither material nor appropriate. Indeed, they cannot be answered in public

proceedings. Neither Plaintiffs nor the public are entitled to that sort of sensitive national-security

information, and the government is not prepared to disclose it.

       4. Finally, even if the Court’s order had purported to enjoin the government from taking

steps overseas pursuant to the Proclamation, that still would not restrict the President from

exercising his other authorities under the Constitution to engage in diplomatic negotiations and to

protect the United States from dangerous terrorists and criminals already outside the country.

       The President is “Commander in Chief” of the armed forces. U.S. Const. art. II, § 2. This

power is exclusive to the President and “includes all authorities essential to its due exercise.” Ex

parte Milligan, 71 U.S. 2, 139 (1866) (Chase, C.J., concurring in judgment). “As commander-in-

chief, [the President] is authorized to direct the movements of the naval and military forces placed

by law at his command, and to employ them in the manner he may deem most effectual to harass

and conquer and subdue the enemy.” Fleming v. Page, 9 How. 603, 615 (1850). The President is

also constitutionally empowered to engage in diplomatic negotiations and foreign relations. See

Zivotofsky v. Kerry, 576 U.S. 1, 16 (2015).

       These inherent Article II powers, especially when exercised outside the United States, are

not subject to judicial review or intervention. See Mississippi v. Johnson, 71 U.S. (4 Wall.) 475,

501 (1867) (“[T]his court has no jurisdiction of a bill to enjoin the President in the performance of

his official duties.”); Oetjen v. Cent. Leather Co., 246 U.S. 297, 302 (1918) (“The conduct of the

foreign relations of our Government is committed by the Constitution to the Executive and




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Legislative—‘the political’—Departments of the Government, and the propriety of what may be

done in the exercise of this political power is not subject to judicial inquiry or decision.”); Haig v.

Agee, 453 U.S. 280, 292 (1981) (“Matters intimately related to foreign policy and national security

are rarely proper subjects for judicial intervention.”).

       In sum, just as a court assuredly could not enjoin the President from carrying out a foreign

drone strike or an overseas military operation, or from negotiating with a foreign power to

coordinate on such an operation, nor could a court lawfully restrict the President’s inherent Article

II authority to work with a foreign nation to transfer terrorists and criminals who are already

outside the United States. Consequently, even if one could broadly and improperly construe the

Court’s written minute order as restricting the government from “turn[ing] over … to foreign

governments” alien enemies who were already abroad (Dkt. 21, at 2), that still was limited by its

terms to actions taken “pursuant to the Proclamation.” Once the terrorists had been removed from

the United States, any decision by the President to take such actions pursuant to independent

constitutional authority is therefore not a violation of the Court’s orders in all events.

       5. Because there has been no violation of the Court’s orders, and because the government

is not prepared to disclose any further national security or operational security details to Plaintiffs

or the public, the Court should vacate the hearing scheduled for this afternoon. The government

does not make this request lightly. The Executive Branch has designated TdA a foreign terrorist

organization, a designation that Plaintiffs do not challenge. The course of these proceedings—in

which the Court has enjoined removal of aliens whom the Executive Branch has determined are

part of a foreign terrorist organization—raises extraordinary concerns about the rule of law and

the Executive Branch’s ability to take swift actions to keep the Nation safe.




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                                   Respectfully Submitted,

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